                                UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


    IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
    LIABILITY LITIGATION                             Case No. 16-md-02741-VC


    This document applies to:                        PRETRIAL ORDER NO. 3

    ALL ACTIONS




          Pursuant to Pretrial Order No. 2 and the recent telephonic status conference, the Court

adopts the following partial schedule for the general-causation phase of this litigation1:

                Deadline for submitting a joint discovery letter on supplemental search terms:

November 28, 2016.

                Deadline for supplemental production of documents from custodians in Groups A

and B: December 13, 2016.

                Joint case management statement due: December 16, 2016. The joint case

management statement should include a proposed "science day" protocol, with the understanding

that a date for "science day" will be scheduled at the case management conference.

          December 16 is also the deadline for scheduling deposition dates for the members of

Group A. The dates must be included in the case management statement.

          December 16 is also the deadline for argument about which members of Group D should



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 Groups A-E are defined in Pretrial Order No. 2. Group E should be understood to include the
entire remaining universe of possible custodians and non-expert general-causation witnesses.
be included in custodial document production. The parties are expected to meet and confer about

this well in advance of the case management conference. If the parties continue to disagree as to

any member of Group D, the plaintiffs must include in the case management statement a detailed

and particularized explanation of why production from the disputed custodian would be likely to

yield relevant, non-duplicative information. If the plaintiffs rely on documents or deposition

testimony to support their position, they must include precise citations to the documents or

deposition testimony, and they must bring hardcopies to the case management conference for the

Court's review. Monsanto must include its opposition to the plaintiffs' arguments in the joint

case management statement. This will be the plaintiffs' last opportunity to argue that documents

from Group D should be produced.

        December 16 is also the deadline for argument about which members of Group B should

be deposed. If the parties continue to disagree about any member of Group B, the plaintiffs must

submit a detailed and particularized explanation for their position. They must provide precise

citations to any documents or deposition testimony they rely on, and they must bring hardcopies

to the case management conference. Monsanto must include any opposition in the joint case

management statement. This will be the plaintiffs' last opportunity to argue that members of

Group B should be deposed.

              Case management conference: December 21, 2016, at 9:30 am.
              Deadline for full production of documents from people in Groups C and D:

January 6, 2017.

              Last day for the plaintiffs to depose people in Group A: January 31, 2017.

              Last day for the plaintiffs to depose people in Groups B, C, D, and E: April 17,

2017.

              Plaintiffs' expert reports due: May 1, 2017.

              Monsanto's expert reports due: June 1, 2017.

              Plaintiffs' rebuttal expert reports due: June 15, 2017.
              Close of expert discovery: July 21, 2017.


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              Monsanto's motion for summary judgment and Daubert motions (40 pages):

August 9, 2017.

              Plaintiffs' opposition and cross-motion for summary judgment (70 pages):

August 30, 2017.

              Monsanto's reply and opposition to cross-motion for summary judgment (50

pages): September 13, 2017.

              Plaintiffs' reply (20 pages): September 22, 2017.

              Live testimony from expert witnesses begins: October 10, 2017.

              Argument on motions for summary judgment and Daubert motions: October 13,

2017.



        The Court will set additional deadlines for identifying any custodians in Group E;

producing documents for custodians in Group E; identifying any deponents in Groups C, D, and

E; and scheduling any depositions of people in Groups B, C, D, and E. These deadlines will be

consistent with the Court's April 17, 2017 cutoff for deposing non-expert general-causation

witnesses. The total number of document productions or depositions will not be capped

artificially, but the plaintiffs will be required to support their requests for document production

and depositions with a detailed explanation for their position, specific to the individual in
dispute.

        The parties should be prepared to discuss the remaining discovery deadlines and a date

for "science day" at the upcoming case management conference.

        IT IS SO ORDERED.

Dated: November 23, 2016
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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